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                             (Stipulating Parties Listed on Signature Pages)
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 8                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10                                  SAN FRANCISCO DIVISION
11
12 In re: CATHODE RAY TUBE (CRT)                    MDL No. 1917
   ANTITRUST LITIGATION
13                                                  Case No. CGC-11-515784
     This Document Relates to:
14
                                                    SUPPLEMENTAL STIPULATION AND
15 BEST BUY ACTIONS                                 [PROPOSED] ORDER REGARDING
   11-cv-05513-SC
                                                    DISCOVERY TO OCCUR AFTER
16 13-cv-05264-SC                                   SEPTEMBER 5, 2014
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     SUPPLEMENTAL STIPULATION AND [PROPOSED] ORDER                             MDL No. 1917
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 1          This Supplemental Stipulation and Proposed Order Regarding Discovery to Occur After
 2 September 5, 2014 between defendants Panasonic Corporation, Panasonic Corporation of North
 3 America, and MT Picture Display Co., Ltd. (together, the “Panasonic Defendants”), on behalf of
 4 themselves and the undersigned defendants, on the one hand, and plaintiffs Best Buy Co., Inc., Best
 5 Buy Purchasing LLC, Best Buy Enterprise Services, Inc., Best Buy Stores, L.P., Bestbuy.com,
 6 L.L.C., and Magnolia Hi-Fi, LLC (collectively, “Best Buy”), on the other hand, is made with respect
 7 to the following facts and recitals:
 8          WHEREAS, on March 21, 2014, the Court entered a scheduling order setting the close of
 9 fact discovery for September 5, 2014. See Dkt. No. 2459.
10          WHEREAS, on September 9, 2014, the Court entered as an order the parties Stipulation
11 Regarding Discovery to Occur After September 5, 2014, which provided, among other things, that
12 the Panasonic Defendants may notice or subpoena and take the deposition of an additional witness
13 after September 5, 2014 but no later than October 15, 2014, in connection with Best Buy’s
14 competitive intelligence activities, consistent with the July 28 Order and the Court’s Order re
15 Discovery and Case Management Protocol (Dkt. No. 1128). See Dkt. No. 2822.
16          WHEREAS, on September 12, 2014, pursuant to that Stipulation and Order, the Panasonic
17 Defendants identified Debbie Ayala as an additional percipient witness.
18          WHEREAS, on or about September 18, 2014, Best Buy indicated that Ms. Ayala was
19 available for deposition on October 4, 2014, and on September 27, 2014, the Panasonic Defendants
20 noticed Ms. Ayala’s deposition accordingly.
21          WHEREAS, on September 29, 2014, Best Buy informed the Panasonic Defendants that Ms.
22 Ayala was no longer available on October 4, 2014, but could be available instead on October 18,
23 2014.
24          WHEREAS, the Panasonic Defendants and Best Buy have conferred by and through their
25 counsel and, subject to the Court’s approval, HEREBY STIPULATE AS FOLLOWS:
26          1.     Defendants will take the deposition of Debbie Ayala on October 18, 2014 or another
27                 mutually agreeable date.
28          2.     In the event Ms. Ayala’s deposition does not proceed because Ms. Ayala becomes

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 1               unavailable, the Panasonic Defendants and Best Buy agree to meet and confer in
 2               good faith to select a different, available witness from the alternative witnesses
 3               identified by the Panasonic Defendants on September 12, 2014.
 4         3.    Best Buy hereby waives any argument that testimony provided at any forthcoming
 5               Best Buy percipient witness deposition, as set forth above, is inadmissible because
 6               such deposition occurred after September 5, 2014.
 7         4.    Best Buy expressly reserves and does not waive all other objections, including
 8               deposition objections and evidentiary objections regarding the admissibility of any
 9               testimony provided at any additional Best Buy percipient witness deposition.
10         5.    Defendants expressly reserve the right to request the production of additional
11               documents related to competitive intelligence identified at any Best Buy deposition
12               set forth in paragraph (1) or (2) above that takes place after the September 5, 2014
13               discovery deadline, within forty-eight hours after the conclusion of such deposition.
14               Best Buy hereby waives any objections to the production and admissibility of such
15               documents on the basis that the discovery deadline has passed. However, Best Buy
16               does not waive other objections.
17         6.    To the extent a motion to compel may be required in connection with the depositions
18               set forth in paragraphs (1) or (2) above, defendants may file such motion within five
19               calendar days after the depositions in question or, with respect to documents, within
20               five calendar days after any decision by Best Buy regarding the production of the
21               requested documents.
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.
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            October 22, 2014
     Dated: _________________                _____________________________________
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                                             United States District Court Judge
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 5
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     SUPPLEMENTAL STIPULATION AND [PROPOSED] ORDER                                 MDL No. 1917
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